      Case: 23-70005   Document: 16        Page: 1    Date Filed: 10/08/2023




                             No. 23-70005

                                IN THE
   United States Court of Appeals for the Fifth Circuit
                            ALI NASSER,
                                                     Defendant–Appellant,
                                      v.

                        JEDIDIAH MURPHY,
                                      Plaintiff–Appellee.

           On Appeal from the United States District Court
          for the Western District of Texas, Austin Division,
                      Cause No. 1:23–CV–1170

    REPLY IN SUPPORT OF MOTION TO VACATE STAY OF
                     EXECUTION

KEN PAXTON                                  EDWARD L. MARSHALL
Attorney General of Texas                   Chief, Criminal Appeals Division

BRENT WEBSTER                               ALI M. NASSER
First Assistant Attorney General            Assistant Attorney General
                                              Counsel of Record
JOSH RENO
Deputy Attorney General                     P.O. Box 12548, Capitol Station
For Criminal Justice                        Austin, Texas 78711
                                            (512) 936–1400
                                            Ali.nasser@oag.texas.gov




                   Counsel for Defendant–Appellant
       Case: 23-70005   Document: 16       Page: 2   Date Filed: 10/08/2023




             CERTIFICATE OF INTERESTED PERSONS

     The undersigned counsel of record certifies that the following listed

persons and entities as described in the fourth sentence of Rule 28.2.1

have an interest in the outcome of this case. These representations are

made in order that the judges of this court may evaluate possible

disqualification or recusal.

Defendant–Appellant
     Ali Nasser
     District Attorney Pro Tem

Counsel for Defendant–Appellant
    Ali Nasser, Assistant Attorney General
    OFFICE OF THE ATTORNEY GENERAL OF TEXAS

Plaintiff–Appellee
     Jedidiah Murphy

Counsel for Plaintiff–Appellee
    Catherine Bernhard
    Katherine Black
    Russell Hunt


                                  s/ Ali M. Nasser
                                  ALI NASSER
                                  Assistant Attorney General
                                  Counsel for Defendant–Appellant




                                       i
          Case: 23-70005            Document: 16            Page: 3     Date Filed: 10/08/2023




                                   TABLE OF CONTENTS
                                                                                                        Page

CERTIFICATE OF INTERESTED PERSONS ......................................... i
TABLE OF CONTENTS ........................................................................... ii
TABLE OF AUTHORITIES .....................................................................iii
INTRODUCTION ...................................................................................... 1
ARGUMENT ............................................................................................. 1
I.      Murphy Cannot Show that this Court Does not Have
        Jurisdiction. ...................................................................................... 1
II.     Murphy Fails to Show that the District Court’s Finding a
        Likelihood of Success on the Merits is Not an Abuse of
        Discretion. ........................................................................................ 3
III.    The Lower Court’s Finding of Irreparable Injury Was
        Erroneous. ........................................................................................ 6
IV.     Murphy Still Cannot Justify His Egregious and Abusive
        Delay. ................................................................................................ 9
CONCLUSION ........................................................................................ 12
CERTIFICATE OF SERVICE................................................................. 14
CERTIFICATE OF COMPLIANCE WITH RULE 27(d) ........................ 15
CERTIFICATE OF COMPLIANCE WITH ECF FILING
STANDARDS .......................................................................................... 15




                                                       ii
         Case: 23-70005          Document: 16            Page: 4    Date Filed: 10/08/2023




                              TABLE OF AUTHORITIES
Cases

Adams v. Thaler, 679 F.3d 312 (5th Cir. 2012) ........................................ 2

Cantu v. Collins, 967 F.2d 1006 (5th Cir. 1992) ....................................... 3

Def. Distrib. v. Platkin, 55 F.4th 486 (5th Cir. 2022) ............................... 4

District of Columbia Court of Appeals v. Feldman, 460 U.S. 462 (1983) . 5

Gutierrez v. Saenz, 131 S. Ct. 1260 (2021)................................................ 8

Gutierrez v. Saenz, 818 F. App’x 309 (5th Cir. 2020) ........................... 2, 8

Haaland v. Brackeen, 142 S. Ct. 1609 (2023) ........................................... 7

Hill v. McDonough, 547 U.S. 573 (2006)................................................. 11

Lowenfield v. Phelps, 484 U.S. 231 (1988) ................................................ 9

Murphy v. State, No. AP-77,112, 2023 WL 6241994 (Tex. Crim. App.

  Sep. 26, 2023) ....................................................................................... 12

Nken v. Holder, 556 U.S. 418 (2009) ......................................................... 3

Ramirez v. McCraw, 715 F. App’x 347 (5th Cir. 2017) ............................. 6

Reed v. Goertz, 598 U.S. 230 (2023) .......................................................... 4

Rocha v. Thaler, 626 F.3d 815 (5th Cir. 2010).......................................... 9

Rooker v. Fidelity Trust Co., 263 U.S. 413 (1923) .................................... 5

Troice v. Proskauer Rose, L.L.P., 816 F.3d 341 (5th Cir. 2016) ............... 3
                                                   iii
          Case: 23-70005          Document: 16          Page: 5     Date Filed: 10/08/2023




United States v. Salerno, 481 U.S. 739 (1987) .......................................... 5

Utah v. Evans, 536 U.S. 452 (2002) .......................................................... 6

Statutes

28 U.S.C. § 1292(a) .................................................................................... 1




                                                   iv
       Case: 23-70005   Document: 16       Page: 6   Date Filed: 10/08/2023




                           INTRODUCTION

     Plaintiff-Appellee Jedidiah Murphy obtained a stay of execution so

that he could pursue his civil-rights challenge to Texas’s DNA-testing

statute under Chapter 64 of the Texas Code of Criminal Procedure.

Appellant immediately moved in this Court to vacate the stay. Mot. to

Vacate (Mot.). Murphy has responded. See Response (Resp.).

     In his response, Murphy fails to explain (1) how his claim has any

merit, (2) how he could ever obtain DNA testing and (3) why he has

waited until nearly the eve of execution to raise his lawsuit. In granting

Murphy’s stay request, the lower court ignored these deficiencies, further

delaying justice so that Murphy could present a meritless and pointless

lawsuit that he could have brought anytime over the last decade. In doing

so, the lower court abused its discretion.

                              ARGUMENT

I.   Murphy Cannot Show that this Court Does not Have
     Jurisdiction.

     Murphy contends that the lower court did not issue an injunction

and therefore Appellant’s reliance on 28 U.S.C. § 1292(a) to invoke

jurisdiction is improper. While an order granting a stay of execution is

                                       1
       Case: 23-70005   Document: 16       Page: 7   Date Filed: 10/08/2023




not an injunction per se, it in effect prescribes injunctive relief. In any

event, Murphy cannot credibly say that this Court lacks jurisdiction to

vacate an order granting a stay of execution. Opinions from this Court

ruling on such orders are legion. See, e.g., Adams v. Thaler, 679 F.3d 312,

323 (5th Cir. 2012). So legion, in fact, that this Court’s internal operating

procedures have a rule designed just for a motion to vacate such an order.

See Rule 8.3 of the Rules and Internal Operating Procedures of the

United States Court of Appeals for the Fifth Circuit. And even assuming

Appellant is correct that § 1292 does not imbue this Court with

jurisdiction because the lower court did not issue an injunction, this

Court has previously exercised jurisdiction even without an injunction in

place to vacate a stay of execution. See Gutierrez v. Saenz, 818 F. App’x

309, 311, 315 (5th Cir. 2020); Adams, 679 F.3d at 323.

     Murphy’s last argument, that a court order granting a stay of

execution does not satisfy the collateral order doctrine, also fails. The

collateral order doctrine permits appeals from orders that are deemed

final under 28 U.S.C. § 1291 because they “(1) conclusively determine the

disputed question; (2) resolve an issue that is completely separate from


                                       2
       Case: 23-70005    Document: 16       Page: 8   Date Filed: 10/08/2023




the merits of the action and (3) would be effectively unreviewable on

appeal from a final judgment.” Troice v. Proskauer Rose, L.L.P., 816 F.3d

341, 345 (5th Cir. 2016). A stay of execution clearly fits this definition. It

conclusively determines the question of whether a stay of execution

would be granted. It is clearly separate from the merits of the action. See

Nken v. Holder, 556 U.S. 418, 434 (2009). And obviously the question of

whether to stay an execution would be unreviewable if the order staying

the execution were unappealable. Therefore, an order granting stay of

execution would meet the requirements of the collateral order doctrine.

II.   Murphy Fails to Show that the District Court’s Finding a
      Likelihood of Success on the Merits Is Not an Abuse of
      Discretion.

      As Appellant pointed out in his motion to vacate, Circuit precedent

precludes granting a stay of execution pending a writ of certiorari that

might change the law. Cantu v. Collins, 967 F.2d 1006, 1012 n. 10 (5th

Cir. 1992). Drawing a commonsensical syllogism, it therefore follows that

a pending appeal should have no greater effect. Not so, says Murphy.

Instead, of failing to engage with Appellant’s rational argument, he




                                        3
        Case: 23-70005      Document: 16       Page: 9   Date Filed: 10/08/2023




continues pointing to the pending Gutierrez 1 appeal, arguing that the

Southern District’s opinion is “highly persuasive authority.” Resp. at 13.

But certainly four Supreme Court justices voting to grant certiorari on

an issue is “highly persuasive” as well. If that is not enough to stay an

execution, neither is an allegedly “persuasive” district court opinion. 2

      Murphy also misapprehends the lower court’s determination of the

merits of his claim. He argues that, under Reed v. Goertz, the lower court

was permitted to find his complaint did not violate the Rooker/Feldman

doctrine. Resp. at 14 (citing to 598 U.S. 230, 234–35 (2023)). Murphy

misapprehends the difference between standing and merits. Indeed, Reed

held that one raising a facial challenge could show injury to support

Article III standing. Reed, 598 U.S. at 235. But Murphy cannot argue



1     See Gutierrez v. Saenz, No. 21-70009
2      Appellant further makes a flimsy appeal to the rule of orderliness, claiming
that this Court cannot prejudge the merits of the appeal in Gutierrez by finding he
cannot show a likelihood of success on the merits. As Murphy notes, under the rule
of orderliness, a panel cannot overturn “another panel’s decision absent an
intervening change in law, such as by statutory amendment, or the Supreme Court,
or our en banc Court.” Def. Distrib. v. Platkin, 55 F.4th 486, 495 n.10 (5th Cir. 2022).
Nothing about that rule precludes a panel from evaluating the same issue as the
panel in Gutierrez. To the extent Murphy laments that he won’t be able to see what
happens in Gutierrez without a stay of execution, that is his fault alone for waiting
over a decade to file his lawsuit.

                                           4
       Case: 23-70005     Document: 16       Page: 10   Date Filed: 10/08/2023




such injury for purposes of the merits of his claim without violating the

Rooker/Feldman3 doctrine. The moment a plaintiff begins citing to his

own injury on the merits to show an unconstitutional application, he by

definition is making an impermissible as-applied challenge. See Reed,

598 U.S. at 235 (explaining that the Rooker/Feldman doctrine “prohibits

federal courts from adjudicating cases brought by state-court losing

parties challenging state-court judgments.”).

      Nothing in Reed’s discussion of standing permitted the lower court’s

consideration of how the statute might have violated Murphy’s rights

alone. Rather, as Appellant argued, the lower court needed to analyze

whether Chapter 64 was unconstitutional in all applications. See United

States v. Salerno, 481 U.S. 739, 745 (1987). The lower court’s order was

completely lacking of this analysis. See ECF No. 16 And, glaringly, so is

Murphy’s current response. Resp. at 14–15. The silence from Murphy on

the actual merits of his claim is deafening.




3     Rooker v. Fidelity Trust Co., 263 U.S. 413 (1923) and District of Columbia
Court of Appeals v. Feldman, 460 U.S. 462 (1983).
                                         5
      Case: 23-70005    Document: 16       Page: 11   Date Filed: 10/08/2023




III. The Lower Court’s Finding of Irreparable Injury Was
     Erroneous.

     Murphy argues that, if he wins his lawsuit, it is more likely that

Appellant would provide DNA testing. In support, he offers Reed’s

opinion, stating that if “a federal court concludes that Texas's post-

conviction DNA testing procedures violate due process, [such] that [a]

court order would eliminate the state prosecutor's justification for

denying DNA testing,” finding that, “[i]t is ‘substantially likely’ that the

state prosecutor would abide by such a court order.” 598 U.S. at 234

(citing Utah v. Evans, 536 U.S. 452, 464 (2002)).

     First, Murphy still fails to explain how the lower court could ever

enjoin Appellant from taking a position or denying discretionary testing.

It would be highly improper for a lower court to do so. See Ramirez v.

McCraw, 715 F. App’x 347, 350 (5th Cir. 2017) (finding the district court

“accurately analyzed” the plaintiff’s request for “an injunction requiring

the defendants to release the biological material on which he asks for

DNA testing” as tantamount to an impermissible writ of mandamus). To

the extent Murphy is arguing that Appellant might be persuaded by a

powerless declaratory judgment, that argument fails as well, as

                                       6
      Case: 23-70005   Document: 16       Page: 12   Date Filed: 10/08/2023




explained by the Supreme Court after Reed: “It is a federal court's

judgment, not its opinion, that remedies an injury; thus it is the

judgment, not the opinion, that demonstrates redressability.” Haaland v.

Brackeen, 142 S. Ct. 1609, 1640 (2023).

     Moreover, the language in Reed was premised on a “court order

[that] would eliminate the state prosecutor’s justification for denying

DNA testing.” Reed, 598 U.S. at 234. As Appellant argued in his motion,

the requested relief here would not eliminate Appellant’s justification for

denying DNA testing, because, even assuming Murphy won his lawsuit,

the Appellant could continue to oppose testing on the ground that

Murphy seeks it for delay. Tellingly, Murphy has no response to this

rather dispositive argument.

     Murphy also argues that “this Court’s case law does not require”

him or the lower court to explain how DNA testing would prove his

innocence of the Wilhelm kidnapping. Resp. at 16. But, in the stay

context, this Court has found it appropriate to inquire just how DNA

testing would serve the plaintiff:

          The problem for Gutierrez is that he was convicted
     without jurors needing to decide whether he was the actual

                                      7
        Case: 23-70005   Document: 16       Page: 13   Date Filed: 10/08/2023




       murderer or an accomplice. He confessed to being inside the
       home. The jury was permitted to find Gutierrez guilty “of
       capital murder if, among other things, it found that appellant
       ‘acting alone or as a party’ with the accomplice intentionally
       caused the victim's death.” . . . A search for DNA on the
       victim's clothing and elsewhere would not reasonably lead to
       evidence that would exclude Gutierrez as an accomplice. In
       his briefing before this court, he wholly failed to show how the
       DNA testing he requests would be “sufficiently material” to
       negate his guilt thus justifying the pursuit of DNA testing at
       this late date. Therefore, because Gutierrez has not shown by
       a preponderance of the evidence that he would not have been
       convicted if exculpatory results were obtained, he cannot
       prevail.

             Gutierrez failed to show that the Court of Criminal
       Appeals’ application of Chapter 64 as to him was
       fundamentally unfair. We conclude that Chapter 64 both
       facially and as applied by the Court of Criminal Appeals
       comports with the Supreme Court's decision in Osborne.
       Consequently, this claim is likely to fail on the merits and
       cannot justify a stay of execution.

Gutierrez, 818 F. App’x at 312–13, vacated on other grounds by Gutierrez

v. Saenz, 131 S. Ct. 1260, 1261 (2021). If Murphy cannot explain how

touch DNA would help him, that is a reason to find against him, not for

him.

       Murphy also argues that rebutting the future danger finding

renders one ineligible for the death penalty under Texas law, accusing

Appellant of betraying a “fundamental misunderstanding” of the special

                                        8
       Case: 23-70005     Document: 16       Page: 14   Date Filed: 10/08/2023




issue. Resp. at 17. But the Supreme Court explained in Lowenfield v.

Phelps, that Texas’s scheme determines eligibility for the death penalty

at the guilt phase of trial, not sentencing. Lowenfield v. Phelps, 484 U.S.

231, 243–47 (1988). And this Court adopted this rationale in Rocha when

it determined that mitigating evidence that the jury heard after it had

determined the defendant’s guilt of a capital crime did not bear on

eligibility for the death penalty. Rocha v. Thaler, 626 F.3d 815, 826–27

(5th Cir. 2010).

      Murphy does not respond to the argument that he cannot show no

rational juror could find him a future danger if could rebut the Wilhelm

kidnapping. He could not make such a showing. And the lower court’s

failure to inquire into any injury Murphy would suffer absent a stay was

an abuse of discretion.

IV.   Murphy Still Cannot Justify His Egregious and Abusive
      Delay.

      Murphy argues that Appellant waived his argument that Murphy’s

delay created a presumption in favor of denying a stay:

            But Appellant failed to make this argument to the
      district court. In its opposition to Mr. Murphy’s stay motion,
      it nowhere stated that Hill created a presumption that

                                         9
      Case: 23-70005   Document: 16     Page: 15   Date Filed: 10/08/2023




     displaces the normal Nken factors. Under its heading about
     the public interest in carrying out Mr. Murphy’s execution, it
     cited some of the same language from Hill to argue for a
     presumption that the public interest factor should weigh
     against Mr. Murphy. Defendant’s Response in Opposition to
     Plaintiff’s Motion for Stay of Execution, Dkt. 12, at 17-18. That
     did not put the district court on notice of the argument
     Appellant raises now, thus this Court should not consider it
     either. Beyond that, it is fundamentally impossible for the
     district court to have abused its discretion in failing to
     consider an argument Appellant failed to make

Resp. at 20. That is a breathtaking misrepresentation of Appellant’s

district court response. Appellant argued in the lower court that,

          [A] “court considering a stay must also apply ‘a strong
     equitable presumption against the grant of a stay where a
     claim could have been brought at such a time as to allow
     consideration of the merits without requiring entry of a stay.’”

                                 ...

           This presumption applies with full force here. Plaintiff
     has denied the Wilhelm kidnapping since trial . . Moreover,
     “Chapter 64, authorizing motions for DNA testing, has been
     in effect since April 2001.” . . . Yet, Plaintiff did not move for
     DNA testing until March 2023, after the trial court set a
     hearing on the State’s motion to set an execution date . . . And
     then he did not file his federal lawsuit in this court until
     September 27, 2023, less than two weeks from his execution.

                                 ...

         As such, this lawsuit—belatedly filed less than two
     weeks before the execution—is precisely the sort of “dilatory

                                       10
      Case: 23-70005   Document: 16    Page: 16   Date Filed: 10/08/2023




     tactic” that presumptively weighs against the issuance of a
     stay.

ECF No. 12 at 18 (citing Hill v. McDonough, 547 U.S. 573, 584 (2006)).

The language used by Appellant clearly evinced a presumption against a

stay, that trumps the other stay factors, and Murphy’s argument that the

lower court was not on notice of such an argument is simply not true.

     In his second argument, Murphy cites to language from Reed, in

which the majority suggests it “might be difficult as a practical matter”

to bring a § 1983 lawsuit without testing the challenged state-court

process first. 598 U.S. at 237 n.1. Murphy calls this “binding Supreme

Court precedent.” But it’s actually dicta, as is clear from the majority’s

determination that “we need not address that hypothetical scenario.” Id.

Contrary to Murphy’s erroneous argument, there is no binding Supreme

Court precedent that would have restrained him from filing his § 1983

claim at any time. In fact, since he raises a facial challenge to a statute

based on a 2011 opinion, Appellant fails to see how it would be difficult

at all to have raised his claim “as a practical matter.” Murphy doesn’t

even bother trying to explain why this would have been difficult. He just

continues to flounder for an excuse to justify his delay.

                                      11
      Case: 23-70005    Document: 16    Page: 17   Date Filed: 10/08/2023




     In any event, even if he did have to wait for the CCA’s judgment

denying DNA testing to file his federal lawsuit, that judgment only issued

so near his execution date because he delayed in filing his Chapter 64

motion, only moving for such relief when the State sought an execution

date. See Murphy v. State, No. AP-77,112, 2023 WL 6241994, at *5. (Tex.

Crim. App. Sep. 26, 2023). Murphy is silent on why he waited two decades

to seek such testing.

     The lower court clearly abused its discretion in failing to even

mention Murphy’s egregious and abusive delay.

                             CONCLUSION

     For the above reasons, the Defendant-Appellant requests that this

Court vacate the district court’s order staying Murphy’s execution.

                                  Respectfully submitted,

                                  KEN PAXTON
                                  Attorney General of Texas

                                  BRENT WEBSTER
                                  First Assistant Attorney General

                                  JOSH RENO
                                  Deputy Attorney General
                                  for Criminal Justice


                                       12
      Case: 23-70005   Document: 16    Page: 18   Date Filed: 10/08/2023




                                 EDWARD L. MARSHALL
                                 Chief, Criminal Appeals Division

                                 s/ Ali Nasser
*Attorney-in-charge              *ALI NASSER
                                 Assistant Attorney General
                                 District Attorney Pro Tem
                                 Texas Bar No. 24098169

                                 P. O. Box 12548, Capitol Station
                                 Austin, Texas 78711
                                 Tel: (512) 936–1400
                                 Fax: (512) 320–8132
                                 Email: Ali.Nasser@oag.texas.gov

                                 ATTORNEYS FOR APPELLANT




                                      13
      Case: 23-70005    Document: 16    Page: 19   Date Filed: 10/08/2023




                       CERTIFICATE OF SERVICE

      I do hereby certify that on October 8, 2023, I electronically filed the
foregoing document with the Clerk of the Court for the United States
Court of Appeals for the Fifth Circuit using the electronic case-filing
system of the Court. The electronic case-filing system sent a “Notice of
Electronic Filing” (NEF) to the following attorney of record, who
consented in writing to accept the NEF as service of this document by
electronic means:

Catherine Clare Bernhard
Law Office of Catherine Clare Bernhard
P.O. Box 506
Seagoville, TX 75159
972-294-7262
Fax: 972-421-1604
Email: cbernhard@sbcglobal.net

Katherine Froyen Black
Attorney At Law
205 Blue Ridge Trail
Austin, TX 78746
415-847-6127
Email: kfroyen@gmail.com

Russell David Hunt, Jr.
Russell D. Hunt, Jr. Attorney at Law
310 South Austin Avenue
Georgetown, TX 78626
(512)474-5114
Fax: (512)857-0746
Email: admin@russhuntjrlaw.com




                                       14
      Case: 23-70005   Document: 16    Page: 20   Date Filed: 10/08/2023




                                           s/ Ali Nasser
                                           ALI NASSER
                                           Assistant Attorney General



       CERTIFICATE OF COMPLIANCE WITH RULE 27(d)
      I certify that this motion complies with the typeface and length
requirements of Federal Rule of Appellate Procedure 27(d). It contains
2,510 words, Microsoft Word for Office 365, Century Schoolbook, 14 point
font.

                                           s/ Ali Nasser
                                           *ALI NASSER
                                           Assistant Attorney General


      CERTIFICATE OF COMPLIANCE WITH ECF FILING
                      STANDARDS

      I do hereby certify that: (1) all required privacy redactions have
been made; (2) this electronic submission is an exact copy of the paper
document; and (3) this document has been scanned using the most recent
version of a commercial virus scanning program and is free of viruses.

                                           s/ Ali Nasser
                                           ALI NASSER
                                           Assistant Attorney General




                                      15
